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                       IN TME UNITED STATES DISTRICT COURT FOR


                           THE EASTERN DISTRICT 01- VIRGINIA


                                  NEWPORT NEWS DIVISION


  UNITED STATES OF AMERICA                            )
                                                     )
                 V.                                   )   CRIMINAL NO. 4:23cr54
                                                      )
  CHRISTINA MICHELE THOMPSON                         )
                                                      )
                  Defendant.                          )


                                    STATEMENT OF FACTS


          Comes now the United Slates and offers to the court that had the above-styled matter
  proceeded to trial the United States would have proven the following facts beyond a
  reasonable doubt.


    1.   Federal law enforcement opened an investigation into LUX AUTO circa June 2021 after

         receiving information about large-scale drug trafficking activity at the business.

         Additionally, LUX AUJ'O was referenced in a separate open FBI investigation into a

         shooting incident that occurred on or about August 27, 2021, in Hampton, VA where

         Hampton Police Division officers were targeted by gunfire. The individuals in this

         superseding indictment were using LUX AUTO as a base of operations on the east coast

         whilst being supplied by Sources of Supply (*‘SoS”) in California and elsewhere.


    2.   Video footage obtained from Technical Surveillance of LUX AUTO corroborated the

         storage of illegal drugs in multiple vehicles throughout the parking lot of LUX AUTO.

         This surveillance also established that members of the      organization were frequently

         aimed with handguns and/or assault style weapons. These weapons were visible on the

         camera and were recorded. Technical Surveillance at storage units in Newport News also



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         corroborated the storage of suitcases full of suspected illegal drugs off of the LUX AUTO

         lot.



    3. Law enforcement utilized a wide range of investigative techniques over the course of this

         multi-year investigation, to include an expansive financial investigation that uncovered

         over $22,000,000 flowing in and out of various accounts belonging to or associated with

         the individuals in the superseding indictment and their associates, plus approximately

         $5,000,000 flowing between Peer to Peer (“P2P”) accounts. Various methods of

         surveillance, controlled evidence purchases, covert-entry search warrants, airport

         interdictions, and Title-Ill wire, and data intercepts largely contributed to the overall

         discovery of a successful, multi-faceted conspiracy to traffic thousands of pounds of

         illegal marijuana via commercial aircraft into the Commonwealth of Virginia.


    4.   Between March of 2022 and July 2023, the United States District Court for the Eastern

         District of Virginia, approved approximately 15 initial and/or renewal Applications for

         Orders authorizing the interception of wire and/or electronic communications occurring

         over telephones utilized by various individuals listed in the indictment. During the course

         of those interceptions, the communications of each individual charged in the indictment

         were, at times, intercepted and found to be facilitating or discussing the criminal activity

         of this criminal enterprise. Those communications, marked as “Pertinent” by monitors or

         reviewers, laid the foundation for a widespread conspiracy dating back approximately

         seven years.




    5. Between August 17, 2020, and January 25, 2023, several monetary seizures occurred at

         various major airports in the Mid-Atlantic area. Of those seizures, a total of nearly


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         $400,000 in U.S. currency (cash) was seized from members and/or associates of this

         criminal enterprise. This currency was either derived from the sale of controlled

         substances or was intended for the purchase of distribution amounts of controlled

         substances, primarily being marijuana.


    6.   Between January 20, 2021, and August 24, 2023, several seizures of illegal marijuana

         and/or related contraband took place at major airports in the Mid-Atlantic area. To date,

         almost 1000 pounds of illegal maiijuana have been seized through targeted interdiction

         operations, many of which were developed through monitoring of the aforementioned

         Title-III wire and data intercepts. According to intercepted conversations and airline

         records between the dates in the indictment, the organization was trafficking as much as

         1000 pounds of marijuana per week into the Commonwealth of Virginia.              This is

         corroborated by the fact that the organization spent more than $500,000 on air travel in

         support of the movement of marijuana from the SoS to the Commonwealth of Virginia.


    7.   The members of the organization had varying roles and responsibilities. The leaders of

         this drug trafficking operation engaged with the sources of supply outside the

         Commonwealth of Virginia and arranged for the purchase of large loads of marijuana that

         were the marked for transportation to the Eastern District of Virginia. The leaders would

         then instruct other members of the organization to arrange for couriers to fly to the SoS,

         deliver money to them and then return to the Eastern District of Virginia with the

         marijuana. The leaders would then arrange for mid-level members of the organization to

         receive the marijuana from the couriers and distribute it to customers or have subordinate

         dealers sell the marijuana.



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    8. The leaders of the organization had lieutenants who were responsible for arranging for

         couriers to travel to the SoS to obtain the marijuana, for obtaining locations to store the

         marijuana and insuring the ultimate distribution of the marijuana. These lieutenants

         would sometimes travel to the SoS themselves or would                    accompany couriers on their

         travels.



    9.   The lieutenants supervised individuals who were responsible for distributing the

         marijuana and sometimes receiving the marijuana from the couriers as they returned from

         the SoS. These individuals at times were also expected to collect the proceeds from the

         sale of the marijuana.


    10. The couriers would be contacted by members of the organization when the need for

         marijuana transportation arose. The couriers were provided with tickets to the SoS and

         usually two suitcases. The couriers would then be transported to various airports in the

         Eastern District of Virginia for flights to the SoS. The courtiers would take the suitcases,

         often filled with currency and travel to the SoS.             When the couriers arrived at their

         destination, they would be met by representatives from the SoS and the suitcases would

         be filled with between 20 and 80 pounds of marijuana. The following day the courtiers

         would return to the Eastern District of Virginia with the suitcases full of marijuana.

         When the     couriers    arrived    in   the   Eastern   District   of    Virginia, members of the

         organization would either meet them at the airport or arrange for the couriers to Uber to a

         location where they would surrender the suitcases. The couriers were paid as much as

         $ 1,500.00 for these trips.




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    11. The organization possessed this rough structure of organization over a period of years.

          However, the role of the individuals in the organization was at times fluid. Organization

          members were often called upon to perform multiple roles. If a situation arose, a non¬

          courier might be required to travel to the SoS to transport marijuana,       Also, some

          members of the organization, in addition to their tradition role, might need to do

          paperwork for a flight, deposit drug proceeds into an account or aid in the storage of

          marijuana.



    12.    CHRISTINA MICHELE THOMPSON was and is in a relationship with Zuri Reeves.

          Reeves was active in dealing with the SoSs and was also responsible for the distribution

          of marijuana to dealers in EDVA.       In addition, Reeves would frequently travel to

          California to organize the movement of couriers to EDVA with suitcases containing large

          quantities of marijuana.


    13. THOMPSON worked with Reeves on achieving the goals of the conspiracy by managing

          portions of the financial aspects of Reeve’s drug operation.   THOMPSON also worked


          with Reeves to launder money she knew was generated from the sale of marijuana. This

          involved her working with shell companies and moving money between them to disguise

          the source and amount of the drug proceeds. This all occurred between the dates in the

          indictment.




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    14. The court authorized a T-III intercept of Reeves’ telephone. During the monitoring of the

       telephone, THOMPSON was frequently intercepted talking to Reeves about the drug

       conspiracy. Specifically, on October 6, 2022, THOMPSON and Reeves were intercepted

       on   Reeves’ telephone discussing matters related to the distribution of marijuana in

       furtherance of the conspiracy charged in the second superseding indictment.         These

       events occurred in the Eastern District of Virginia and elsewhere.        Marijuana is a

       Schedule I controlled substance.




                                                     Respectfully submitted,

                                                     JESSICA D. ABER
                                                     UNITEU STATES ATT'


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         After consulting with my attorney and pursuant to the plea agreement entered into this
  day between the defendant, CHRISTINA MICHELE THOMPSON and the United States, I
  hereby stipulate that the above Statement of Facts is true and accurate, and that had the matter
  proceeded to trial, the United States would have proved the same beyond a reasonable doubt.



                                                      RISTINA MICHELE THOMPSON



         I am CHRISTINA MICHELE THOMPSON’S attorney and I have carefully reviewed
  the above Statement of Facts with the defendant. To my knowledge, the decision to stipulate
  to these facts is an informed and volunt



                                       J^es O. Broccoletti
                                       Attorney for CHRISTINA MICHELE THOMPSON




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